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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            CENTRAL DIVISION at FRANKFORT

  CASE NO. 3:08-CR-21-DCR

  UNITED STATES OF AMERICA,                                                     PLAINTIFF


  V.                           MAGISTRATE JUDGE’S
                           REPORT AND RECOMMENDATION


  LEONARD V. LAWSON,                                                        DEFENDANTS
  CHARLES WILLIAM “BILL” NIGHBERT,
  BRIAN RUSSELL BILLINGS.

                                       *********

                                    I. INTRODUCTION

          On December 3, 2008, defendant Leonard Lawson filed a motion to exclude in

  limine the government’s proffered expert witness pursuant to Federal Rules of Evidence

  702 and 403, as well as Federal Rule of Criminal Procedure 16(a)(1)(G). [DE #128]. On

  December 17, 2008, the United States filed a response to the motion. [DE #173]. On

  January 6, 2009 the defendant filed a reply to respondent’s response. [DE #201]. Thus,

  this matter is ripe for review.

          In accordance with local practice, this matter was referred to the undersigned

  Magistrate Judge for consideration pursuant to 28 U.S.C. § 636(b).


                                      II. DISCUSSION

  A. Factual and Procedural History

          On September 3, 2008, a federal Grand Jury returned an eight-count indictment

  against movant and his co-defendants, charging movant with bribery, witness tampering,
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  and obstruction of justice. Movant pled not guilty to these charges. Trial is scheduled to

  begin on June 23, 2009.

         On September 3, 2008 defendant Lawson’s counsel requested by letter that the

  United States disclose any items that it intends to use under Federal Rules of Evidence

  702, 703, 705, or Federal Rule of Criminal Procedure 16(a)(1)(G). The letter also

  requested that the United States disclose information called for under Fed.R.Crim. Proc.

  16(a)(1) generally, and FRE 801(d)(2)(E) or FRE 404(b) in particular.

         On November 3, 2008 the government responded to defendant’s letter with

  notification that the United States intends to call a witness with “specialized knowledge”

  to testify. The letter included the conclusions to which the witness would testify, the

  reasons for the witness’s conclusions, and the witness’s résumé.

         On November 6, 2008 defendant Lawson’s counsel replied to the government

  stating that the government’s letter of November 3, 2008 did not include a summary of

  the bases and reasons upon which the expert witness relies, one of Rule 16(a)(1)(G)’s

  requirements.

         On December 3, 2008 defendant Lawson filed his First Motion to Exclude in

  Limine Government’s Expert Witness.


  B. Movant’s claims

         In support of the motion to exclude the government’s expert witness, movant

  asserts that: (1) the government’s proffered witness lacks the qualifications to be

  admitted as an expert under Fed. Rule Evid. 702; (2) expert testimony will not assist and

  is not necessary for the jury to understand the movant’s interest in the corporation whose


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  documents the expert would analyze and thus fails the “need” element of Fed. Rule Evid.

  702; (3) the proffered testimony’s relevance is for the jury to decide; (4) the expert’s

  proffered opinion invades the province of the jury because it introduces state of mind

  testimony; (5) the expert’s testimony would have a prejudicial effect that outweighs its

  probative value under Fed. Rule Evid. 403; and (6) the government provided insufficient

  notice under Federal Rule of Criminal Procedure 16(a)(1)(G) because the notice did not

  include the “bases and reasons” for the proffered expert’s opinion testimony.

            The United States filed a Response to Motion to Exclude Expert Testimony which

  stated the following: (1) there is a need for an expert witness because some of the

  evidentiary documents are not within the knowledge and understanding of many jurors;

  (2) the government might not call the expert, but must be prepared to impeach witnesses

  who testify at odds with the evidentiary documents; (3) the proffered witness is qualified

  to be an expert by her experience, education, and training because of her extensive

  auditing experience; and (4) the government will not ask the expert the thoughts of

  others.

            The movant replied with a Reply Memorandum in Support of First Motion to

  Exclude in Limine Government’s Expert Witness and stated: (1) expert testimony will

  not assist the jury because the evidentiary documents are not complex enough to merit

  expert assistance; (2) the government’s need for someone to provide their desired

  testimony is not a proper basis for the admission of expert testimony; (3) the proposed

  use of expert testimony is an attempt to introduce state of mind testimony; and (4) the

  government provided insufficient notice under Federal Rule of Criminal Procedure

  16(a)(1)(G) because “bases and reasons” for the proffered testimony were not provided.

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  C. Applicable Law

         The movant challenges the government’s proffered witness in two areas: the

  substantive rules regarding expert qualification under the Federal Rules of Evidence and

  related caselaw, as well as the procedural requirements of the Federal Rules of Criminal

  Procedure.

         In considering the movant’s claims, the court must consider Federal Rules of

  Evidence 104(a), 401, and 402. It is the court’s duty to independently analyze the

  available information regarding the qualification of a witness. Fed. Rule Evid. 104(a).

  All relevant evidence is admissible. Fed. Rule Evid. 402.

         Expert testimony admissibility. The admissibility of expert testimony is

  governed by Federal Rules of Evidence 104(a), 401, and 702. There is also governing

  caselaw to consider from Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993) and

  Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999).

         FRE 104(a) states: “Preliminary questions concerning the qualification of a

  person to be a witness . . . shall be determined by the court, subject to the provisions of

  subdivision (b). In making its determination it is not bound by the rules of evidence

  except those with respect to privileges.”

         FRE 401 states that admissible evidence is that which has “any tendency to make

  the existence of any fact that is of consequence to the determination of the action more

  probable or less probable that it would be without the evidence.”

         FRE 702 states: “If scientific, technical, or other specialized knowledge will

  assist the trier of fact to understand the evidence or to determine a fact in issue, a witness


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  qualified as an expert by knowledge, skill, experience, training, or education, may testify

  thereto in the form of an opinion or otherwise, if (1) the testimony is based upon

  sufficient facts or data, (2) the testimony is the product of reliable principles and

  methods, and (3) the witness has applied the principles and methods reliably to the facts

  of the case.” This rule presents six elements to be satisfied: (I) the need to help the jury

  to understand evidence or to determine a fact in issue,

  (ii) the need for scientific, technical, or other specialized knowledge regarding evidence

  or a fact in issue, (iii) presented by a witness qualified as an expert by knowledge, skill,

  experience, training or education, (iv) the witness’s testimony is based on sufficient facts

  or data, (v) the witness employs reliable principles and methods in reaching his or her

  conclusions, and (vi) the witness reliably applied the principles and methods to the facts.

         FRE 702 was amended in 2000, in light of the Daubert and Kumho Tire opinions

  from the Supreme Court of the United States. Daubert held that Rules 104(a) and 702 set

  gatekeeping requirements for trial judges, a function that requires the court to determine

  the reliability of the scientific, technical or specialized knowledge undergirding the

  proffered expert’s testimony. Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 592-

  93 (1993). The Court identified the following factors as helpful in performing a

  reliability analysis: (I) whether a particular theory or technique has been tested; (ii)

  “whether the theory or technique has been subjected to peer review and publication,” (iii)

  the known or potential rate of error for the theory or technique,

  (iv) the existence of standards in applying the theory or technique, and (v) whether the

  theory or technique enjoys “general acceptance” within the scientific community.

  Daubert, 509 U.S. at 593-94. The particulars of the Daubert case applied to scientific

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  testimony regarding pharmaceutical research and, as such, the analytical factors

  suggested by the court focus on scientific testimony and information. Daubert does not

  speak directly to “technical” or “specialized knowledge” testimony that is also within the

  purview of FRE 702.

         Kumho Tire addressed “technical” and “specialized knowledge” in light of

  Daubert. It held that the Daubert reliability analysis applies to all expert testimony.

  Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 147 (1999). The objective of

  examining the reliability of expert testimony is to ensure that every expert “employs in

  the courtroom the same level of intellectual rigor that characterizes the practice of an

  expert in the relevant field.” Kumho Tire, 526 U.S. at 152. The court may enquire into

  the methodology used to reach the conclusions presented in the testimony and apply the

  Daubert factors to the extent that they are helpful. Kumho Tire, 526 U.S. at 151. The

  trial judge has broad latitude in testing an expert’s reliability, subject to an abuse of

  discretion standard. Kumho Tire, 526 U.S. at 152.

         Auditors are an example of “specialized knowledge” expert. The foundations for

  their expert testimony do not fall into “scientific” or “technical” categories. Auditors are

  methodical and have standards for their profession, but they do not “test” their

  methodologies in the manner than laboratory scientists do, nor do they work with

  “technical” specifications as engineers or computer scientists do. The nature of their

  work makes application of the Daubert factors awkward.

         Despite such analytical awkwardness, the accrual of specialized knowledge

  through experience is sufficient to create expertise. Berry v. City of Detroit, 25 F.3d

  1342, 1349-50 (6th Cir. 1994). So long as the testimony content is relevant and the

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  method by which the specialized testimony developed is reliable, a specialized

  knowledge witness is an expert witness. Id. at 1351. Reliability in specialized

  knowledge testimony is indicated by testing the theory or technique and applying any

  other relevant Daubert factors. Id. at 1350. Courts err when they permit witnesses with

  specialized knowledge to testify as lay witnesses. When a witness presents information

  that is outside the working knowledge of an average lay person, then the need for an

  expert exists. U.S. v. White, 492 F.3d 380, 403 (6th Cir. 2007).

           Audit experts rely upon their practical experiences that are relevant to a matter at

  issue. Their credentials are not their only relevant background. Auditors can be experts

  even when they are not CPAs. U.S. v. Winkle, 477 F.3d 407, 416 (6th Cir. 2007). An

  auditor with many years of practical experience in performing audit work relevant to the

  issue being litigated qualifies to be a witness so long as the methods employed are

  reliable. Id. at 415-16.

           In the Eastern District of Kentucky, a range of relevant factors have been

  identified regarding the qualification of specialized knowledge experts. Relevant factors

  include the proffered expert’s knowledge of an industry and knowledge of an industry’s

  common practices, in addition to the expert’s demonstrated relevant experience, training,

  and education. Oaks v. Wiley Sanders Truck Lines, Inc., 2008 WL 4180267, at *3

  (E.D.Ky. 2008). Scientific tests or the application of mathematical formulas are not a

  necessary foundation for expert testimony that is technical or based on specialized

  knowledge. In re Air Crash at Lexington, Kentucky, 2008 WL 2954973, at *3 (E.D.Ky.

  2008).

           Expert testimony disclosures in federal criminal trials. The government’s

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  required disclosures regarding expert testimony when prosecuting a federal crime is

  governed by Federal Rule of Criminal Procedure 16(a)(1)(G), which states: “At the

  defendant’s request, the government must give to the defendant a written summary of

  any testimony that the government intends to use under Rules 702, 703, or 705 of the

  Federal Rules of Evidence during its case-in-chief at trial. . . . The summary provided

  under this subparagraph must describe the witness’s opinions, the bases and reasons for

  those opinions, and the witness’s qualifications.”


  E. Analysis

  1. Qualifications of the government’s proffered witness under Fed. Rule Evid. 702.

         Movant contends that the proffered witness isn’t properly qualified because she

  lacks the knowledge, training, and experience necessary to render opinions on “corporate

  and financial implications of documents related to UMG; conclusions regarding the

  nature and extent of Lawson’s ownership interests in UMG; and/or attempts to conceal

  Lawson’s ownership interests in UMG.” Defendant’s Memo in Support of First Motion,

  at 4. Additionally, defendant claims that the proffered witness lacks knowledge, training,

  and experience because she is not a Certified Public Accountant, “she has not focused

  upon or specialized in the area of partnership structures and/or partnership distributions,”

  and her audit work does not “provide a background sufficient . . . to testify regarding the

  implications of corporate and financial documents.” Defendant’s Memo in Support of

  First Motion, at 5. Defendant also argues that the proffered expert’s experience

  “performing audits under the International Fuel Tax Agreement and auditing trucking

  companies for compliance with the State Weight Distance Fuel Tax provides no relevant


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  knowledge base whatsoever for her purported testimony in this matter.” Defendant’s

  Memo in Support of First Motion, at 5. The defendant goes on to state that the

  government did not provide any information regarding the proffered expert’s basis for

  her conclusions and opinions, and as such, makes it impossible to determine whether the

  proposed testimony is reliable and relevant, prerequisites to qualifying an expert witness.

  Defendant’s Memo in Support of First Motion, at 5-6.

         It is an auditor’s job to analyze the implications of corporate and financial

  documents. The proffered witness has ten years of experience auditing financial

  documents, keeps up with continuing professional education, and has an appropriate

  educational background for auditing. Defendant’s First Motion to Exclude, Attachment

  B. It is not necessary to be a CPA in order to be an audit expert. Winkle, 477 F.3d at

  416. Rule 702 only requires expertise acquired by “knowledge, skill, experience, training

  or education.” The proffered expert’s résumé demonstrates education, training, and

  experience. It is not necessary to specialize in partnership structures or distributions to

  understand what business documents regarding partnerships intend to effectuate. The

  scope of inquiry concerns the consequences of business structures and distributions; the

  fact that these are partnership structures and distributions is not relevant.

         The International Fuel Tax Agreement audit experience is from more than ten

  years ago according to the proffered expert’s résumé. Defendant’s First Motion to

  Exclude, Attachment B. Since 1999, the proffered expert has worked on auditing

  financial documents. Financial and business documents are the foundation for the

  expert’s analysis and their contents are relevant to the ultimate matters at hand.

         The basis for the proffered expert’s conclusions and opinions includes the

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  expert’s knowledge and experience as documented in her résumé as well as the business

  documents disclosed with the government’s Response to the Motion to Exclude. This

  makes it possible to determine that the testimony is relevant (because it is probative of

  the allegations against defendant) and reliable (because professional auditors examine

  documents for evidence of fraud based on professional audit standards). Although the

  government did not provide this information with its letter of November 3, 2008, the

  “bases” information is now in defendant’s hands because the documents were appended

  to the government’s Response.

         Defendant goes on to argue that even if the witness is “properly qualified,” expert

  testimony is not necessary for and will not assist the jury in understanding defendant’s

  interest in the corporation whose documents the expert would analyze. Defendant alleges

  that the conclusions disclosed by the government do not require specialized knowledge to

  understand, that the government has the burden of demonstrating that specialized

  knowledge is helpful to the jury, and that they have not done so. Defendant’s Memo in

  Support of First Motion, at 10. Defendant claims that the government has not given a

  reason why the jury could not review and understand the documents on their own and

  that it is the government’s burden to demonstrate “by a preponderance of the evidence

  that the proposed testimony is justified under Daubert.” Defendant’s Memo in Support of

  First Motion at 10, citing Oaks v. Wiley Sanders, 2008 WL 418027, at *3 (E.D.Ky.

  2008)(citing Daubert, 409 U.S. at 593). Defendant also states that the government’s

  need for expert testimony is based on its desire to impeach witnesses and that the

  government’s need for “someone to provide the desired testimony is simply not a proper

  basis for invoking expert witness testimony.” Defendant’s Reply Memorandum, at 3-4

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  (emphasis in original).

         The Court has the duty of weighing the admissibility of evidence and the need for

  expert testimony under Federal Rules of Evidence 104(a), 401 and 702. The conclusions

  disclosed by the United States are supported by evidence consisting of business

  documents and records. This evidence is lengthy and complex. It will help the jury to

  understand the documents if someone with specialized knowledge explains the relevant

  portions of the documents.

         It is also the Court’s duty under FRE 104(a) and 702 to act as a gatekeeper and

  independently weigh the need for and validity of expert testimony. Daubert, 509 U.S. at

  592-93. The government has demonstrated a need for the specialized knowledge by

  identifying that “some of the documents are not within the purview of knowledge and

  understanding of many jurors.” Government’s Response to Motion, at 3. This does not

  mean that the jury cannot review the documents on their own, but it does sufficiently

  raise the issue of whether the jurors could analyze the documents on their own based on

  their lack of working knowledge regarding business financial and legal documents.

  White, 492 F.3d at 403. There is no preponderance of the evidence standard under

  Daubert necessary to justify the proposed testimony. The caselaw to which defendant

  cites does not support that proposition and the citation to Daubert referred to in

  defendant’s memorandum does not exist in Oaks v. Wiley Sanders. The government has

  provided sufficient information to satisfy FRE 702 and those are the only requirements

  that the government need meet regarding need for and validity of expert testimony.

         Next, defendant argues that testimony regarding defendant’s “apparent attempts

  to conceal” ownership of the corporation wouldn’t assist the jury and so isn’t appropriate

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  subject matter for expert testimony. Defendant’s First Motion to Exclude, at 2.

  Defendant argues that the proffered expert cannot testify that the defendant’s ownership

  interest in UMG constitutes apparent attempts to conceal his identity from public view

  because “if such evidence is relevant, the decision is the jury’s.” Defendant’s Memo in

  Support of First Motion at 12.

          It is the jury’s role to weigh the evidence regarding the ultimate issues litigated.

  That is, it is the jury’s responsibility to find the ultimate facts. It is the Court’s decision

  under Federal Rules of Evidence 104(a) and 401 whether evidence is relevant and

  therefore admissible. The conclusion that “the defendant attempted to conceal his

  identify from public view” is an opinion that can be presented by an expert qualified

  under FRE 702. The jury may then weigh the evidence in its deliberations regarding the

  ultimate facts.

          Defendant also argues that testimony regarding Lawson’s apparent attempts to

  conceal ownership of the corporation would invade the province of the jury and so isn’t

  appropriate subject matter for expert testimony. “[C]onclusory statements or an opinion

  as to the defendant’s state of mind is not proper subject matter for expert testimony

  because it would not be of assistance to the jury.” Defendant’s Memo in Support of First

  Motion, at 13. Defendant claims that the way in which the government proposes to use

  the expert testimony is an attempt to introduce state of mind testimony. Defendant’s

  Reply Memorandum, at 7-8. “Any proffered conclusions suggesting wrongdoing based

  on the nonpublic status of certain business records would be based on faulty logic and

  would prove nothing of relevance in this case.” Defendant’s Memo in Support of First

  Motion, at 14.

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         The government sufficiently addressed this concern in its Response to the

  defendant’s motion to exclude. The government stated that it will not seek to elicit state

  of mind testimony. Government’s Response to Motion, at 5. Additionally, the trial judge

  will respond to any attempt to elicit state of mind testimony upon the objection of

  defendant’s counsel. The allegation of “faulty logic” is an argument to be made to the

  jury. The proffered expert testimony is probative of the merits of this litigation and

  admissible under FRE 702; if the logic underlying the government’s use of this testimony

  is faulty, counsel will have the opportunity to address that issue in arguments at trial.

         The Magistrate Judge concludes that the movant has not established that the

  proffered expert lacks the knowledge, skill, or education to qualify as an expert witness.

  The court’s review of the proffered expert’s background finds that the proffered expert

  possesses the experience, training, and education to qualify as an expert under FRE 702.

  The proffered expert’s testimony is relevant to the issues being litigated because it is

  probative of whether defendant had the mechanisms in place to commit the acts with

  which he is charged. The proffered expert testimony will assist the jury in understanding

  facts at issue because it distills the relevant portions of the business financial and legal

  documents. The proffered expert has the education, training, and experience necessary to

  analyze the documents based on her educational background, accumulated years of

  professional experience, and ongoing training as an auditor. The factual basis for the

  expert’s conclusions, consisting of business documents, is sufficient. The witness relies

  upon the auditing standards of her profession in reaching her conclusions and those

  standards are generally considered reliable. It appears that the witness has reliably

  applied auditing standards to the business documents because the conclusions disclosed

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  in the government’s November 3, 2008 letter are easily found when reviewing the

  business documents. The proffered expert testimony meets the requirements of Rules

  401 and 702 and is therefore admissible. Consequently, the Magistrate Judge concludes

  that the movant is not entitled to exclude the government’s proffered witness on these

  grounds.


  2. The proffered testimony has a prejudicial effect that outweighs its probative
  value under Fed. R. Evid. 403.

         Defendant argues that the prejudicial effect of the proposed expert’s testimony

  outweighs its probative value and fails the test of Federal Rule of Evidence 403.

  Defendant’s First Motion to Exclude, at 3. Defendant does not support this assertion by

  identifying any prejudicial effects or by analyzing how the testimony’s probative value is

  less weighty than its prejudicial effect. Since the proffered expert’s testimony regards

  evidentiary documents and conclusions that are relevant to the charges being litigated,

  the only prejudicial effect that might occur is convincing the jurors that defendant

  committed the crimes of which he is accused. FRE 403 states that relevant evidence

  “may be excluded if its probative value is substantially outweighed by the danger of

  unfair prejudice . . . .” It does not create unfair prejudice to allow presentation of

  evidence probative of whether the defendant committed the acts of which he is accused.

  The proffered expert testimony does not fail the test of Rule 403.

         The Magistrate Judge concludes that the movant has not established that the

  proffered expert testimony creates unfair prejudice that outweighs the probative value of

  the testimony. Consequently, the Magistrate Judge concludes that the movant is not

  entitled to exclude the proffered expert on these grounds.

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  3. The government provided insufficient notice under Fed. R. Crim. P. 16(a)(1)(G).

         Defendant argues that the government’s letter of November 3, 2008 is

  “insufficient notice under Federal Rule of Criminal Procedures 16(a)(1)(G).”

  Defendant’s First Motion to Exclude, at 2. Defendant claims that the government has

  provided insufficient notice because it has failed to provide “the requisite bases and

  reasons for the proffered opinions.” Defendant’s Reply Memorandum, at 9. Defendant

  supports this argument with the case of U.S. v. Davis, which presents an example of

  inadequate disclosure under Fed. R. Crim. P. 16(a)(1)(G) where the government’s

  disclosure did not provide the other side with enough information. The disclosed

  information was insufficient because, if the defense hired its own expert, “he or she

  would not have been able to analyze the steps that led the government’s [experts] to their

  conclusions.” U.S. v. Davis, 514 F.3d 596, 613 (6th Cir. 2008).

         In the case cited by defendant, the material being analyzed was cocaine base.

  Davis, 514 F.3d at 600. The material not disclosed by the government consisted of the

  chemist notes regarding the testing of the contraband confiscated from the defendant.

  Davis, 514 F.3d at 613. The case at bar is easily distinguished from the scenario

  presented in Davis. Presumably, in Davis the government could not turn over to the

  defense the cocaine base that was tested because of its status as contraband that is illegal

  to possess. The chemist notes at issue were the material describing the process by which

  the chemist produced the report declaring that the substance tested was cocaine base.

  Since defense counsel could not obtain the cocaine base itself, it should have been able to

  see the next best thing: the notes linking the physical evidence to the report declaring the


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  substance to be cocaine base. In the case at bar, the government disclosed with its

  Response to Motion to Exclude all of the source data used by the proffered witness in

  reaching her conclusions. Defendant now possesses the data providing the “bases” for

  the proffered expert’s conclusions. If defendant chooses to hire an expert of his own, that

  expert will be “able to analyze the steps that led the government’s [expert] to [her]

  conclusions.” Davis, 514 F.3d at 613. Defendant already possesses the “reasons” for the

  proffered expert’s opinion because those reasons were disclosed in the government’s

  letter of November 3, 2008.

         The Magistrate Judge concludes that the movant has not established that the terms

  of Federal Rule of Criminal Procedure 16(a)(1)(G) have not been met. Consequently, the

  Magistrate Judge concludes that the movant is not entitled to further Rule 16(a)(1)(G)

  disclosure or a hearing on the qualifications or methodologies of the government’s

  proffered witness.

         In summary, the government’s proffered expert testimony meets the requirements

  of Federal Rules of Evidence 401 and 702 based on the court’s preliminary analysis

  required by FRE 104(a). In addition, the government has disclosed all of the information

  required by Federal Rule of Criminal Procedure 16(a)(1)(G).



                                     III. CONCLUSION

         Based on a review of the record and the applicable law governing motions filed

  pursuant to Federal Rules of Evidence 702, 403, and Federal Rule of Criminal Procedure

  16(a)(1)(G), for the reasons previously stated, the Magistrate Judge concludes that the

  defendant’s motion should not be granted.

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         Accordingly, IT IS RECOMMENDED that the motion to exclude the

  government’s expert witness be DENIED [DE #128] and that the request for alternative

  relief consisting of a perfected 16(a)(1)(G) disclosure and a witness qualification hearing

  also be DENIED.

         The Clerk of the Court shall forward a copy of the Proposed Findings of Fact and

  Recommendation to the respective parties who shall, within ten (10) days of receipt

  thereof, serve and file timely written objections to the Magistrate Judge’s Proposed

  Findings of Fact and Recommendation with the District Court or else waive the right to

  raise objections in the Court of Appeals. 28 U.S.C. § 636(b)(1)(B); Thomas v. Arn, 728

  F.2d 813 (6th Cir. 1984), aff’d, 474 U.S. 140 (1985); Wright v. Holbrook, 794 F.2d 1152,

  1154-55 (6th Cir. 1986); Fed.R.Civ.P. 6(e). A party may file a response to another

  party’s objections within ten (10) days after being served with a copy thereof.

  Fed.R.Civ.P. 72(b).

         This 13th day of April, 2009.




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